               Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 1 of 8

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                                IN THE UNITED STATES DISTRICT COURT
                                                                           BY      M,
                                                                                DEPUTY CLERK .
                                     FOR THE DISTRICT OF KANSAS



    UNITED STATES OF AMERICA, )                  Case No. 19-40091-01-DDC
                               )
                    Plaintiff, )
                               )
    vs.                        )                 PETITION TO ENTER PLEA
                               )                 OF GUILTY AND ORDER
    JARRETT WILLIAM SMITH,     )                 ENTERING PLEA
                               )                 [Federal Rules of Criminal
                    Defendant. )                 Procedure, Rules 10 and 11]
                               )


            The defendant represents to the Comi:

        (1) My full true name is Jan-ett William Smith. I am 24 years of age. I have gone to school
up to and including the 12 th grade. I request that all proceedings against me be in my true name.

            (2) I am represented by lawyers, whose names are:

                    Rich Federico and Kathryn Stevenson

        (3) I received a copy of the Indictment 1 before being called upon to plead. I read the
Indictment and have discussed it with my lawyers. I fully understand every charge made against
me.
        (4) I told my lawyers all the facts and circumstances known to me about the charges made
against me in the Indictment. I believe that my lawyers are fully informed on all such matters.

       (5) I know that the Comi must be satisfied that there is a factual basis for a plea of
"GUILTY" before my plea can be accepted. I represent to the Court that I did the following acts
in connection with the charges made against me in Counts 1 and 2 of the Indictment.

                                                COUNT I

        On or about September 20, 2019, in the District of Kansas and elsewhere within the
jurisdiction of the Comi, I, Jan-ett William Smith, knowingly and unlawfully distributed by any
means information pe1iaining to, in whole and in paii, the manufacture and use of an explosive,
destructive device, and a weapon of mass destruction, namely detailed six-step instructions for
constructing an explosive device, with the intent that the information be used for, and in
fu1iherance of an activity that constitutes a federal crime of violence, including violations of 18

1
    "Indictment" also includes "Information".
          Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 2 of 8




U.S.C. § 2332a (use or attempt to use a weapon of mass destruction). All in violation of Title 18,
United States Code, Sections 2 and 842(p)(2)(A).

                                             COUNT2

        On or about September 20, 2019, in the District of Kansas and elsewhere within the
jurisdiction of the Comi, I, Ja1Tett William Smith, knowingly and unlawfully distributed by any
means information pe1iaining to, in whole and in paii, the manufacture and use of an explosive,
destructive device, and a weapon of mass destruction, namely a recipe for improvised napalm,
with the intent that the information be used for, and in furtherance of an activity that constitutes a
federal crime of violence, including violations of 18 U.S.C. § 2332a (use or attempt to use a
weapon of mass destruction). All in violation of Title 18, United States Code, Sections 2 and
842(p)(2)(A).

       (6) My lawyers have counseled and advised me on the nature of each charge, on all lesser
included chai·ges, and on all possible defenses that I might have in this case.

        (7) I know that I have the right to plead "NOT GUILTY'' to any offense chai·ged against
me. If I plead "NOT GUILTY" I know the Constitution guarantees me (a) the right to a speedy
and public trial by a jury; (b) at that trial, and at all stages of the proceedings, the right to the
assistance of a lawyer; ( c) the right to see and hear aU witnesses called to testify against me, and
the right to cross-examine those witnesses; (d) the right to use the power and process of the Court
to compel the production of any evidence, including the attendance of any witnesses in my favor;
and (e) the right not to be compelled to incriminate myself by taking the witness stand; and ifI do
not take the witness stand, no inference of guilt may be drawn from such decision.

       (8) I know that if I plead "GUILTY," I am thereby waiving my right to a trial, and that
there will be no fuiiher trial of any kind, either before a Court or jury; and fu1iher, I realize the
Comi may impose the same punishment as ifI had pleaded "NOT GUILTY," stood trial, and been
convicted by a jury.

        (9) I know that if I plead "GUILTY," the Comi will ask me questions about the offense to
which I have pleaded, and since I will be answering these questions under oath, on the record, and
in the presence of my lawyers, that my answers may later be used against me in a prosecution for
pe1jury or false statement.

        (10) My lawyers have informed me that the plea of "GUILTY" could subject me to a
maximum sentence which may be imposed as to each count of the indictment to which I have
agreed to plead guilty is not more than twenty (20) years of imprisonment, to be followed by a
te1m of supervised release of not more than five (5) years, and a fine of $250,000, for the offense
chai·ged in Counts 1 and 2 of the Indictment. I have also been informed that the Comi may order
me to make restitution in compliance with 18 U.S.C. §3663 and §3664 or as a condition of
supervision, if such is ordered under 18 U.S.C. §3563, in addition to any other penalty provided

                                                  2
            Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 3 of 8




 by law. I fmiher understand that ifl am pleading "GUILTY" to an offense which is subject to the
 Sentencing Reform Act, I cannot be released on parole and, if imprisonment is ordered in my case,
 the sentence imposed by the Comi will be the sentence I serve less any good time credit if I earn
 it.

         (11) I know that in addition to any other penalty imposed, including any fine or restitution
 order, the Comi is required to impose a special monetary assessment for each count.

        The special monetary assessment is $100.00 for each felony count occurring after April 24,
 1996. (Not less than $100.00 for a felony, $25 .00 for a misdemeanor; if the defendant is other
 than an individual the assessment is not less than $400.00 for a felony and $100.00 for a
 misdemeanor). I UNDERSTAND THIS SPECIAL ASSESSMENT MUST BE PAID AT THE
 TIME OF THE SENTENCING HEARING UNLESS THE COURT DIRECTS OTHERWISE.

         (12) I understand that if my case involves drug trafficking or drug possession, the Comi
 may deny or suspend my eligibility to receive federal benefits pursuant to 21 U.S.C. §862, except
 for those specifically exempted. I understand that if this is my second or subsequent conviction
 for possession of a controlled substance, the Court may order me to complete drug treatment or
 community service as specified in the sentence as a condition for reinstatement of benefits.

        (13) I know that the Comi may also order, in addition to the penalty imposed, that I give
 reasonable notice and explanation of the conviction, in such f01m as the Comi may approve, to the
 victims of the offense.

        (14) I have been advised and understand that ifl am not a U.S. citizen, a conviction of a
 criminal offense may result in depo1iation from the United States, exclusion from admission to the
 United States, and/or denial of naturalization.

          (15) If I am on probation or parole in this or any other Court, I know that by pleading
  guilty here, my probation or parole may be revoked and I may be required to serve time in that
. case, which will be consecutive, that is, in addition to any sentence imposed upon me in this case.

         (16) I declare that no officer or agent of any branch of government (federal, state, or local)
 has promised, suggested, or predicted that I will receive a lighter sentence, or probation, or any
 other f01m of leniency ifl plead "GUILTY," except as set fo1ih in the plea agreement:

        My lawyers did discuss how the advisory Sentencing Guidelines may apply in my case.

        If anyone else, including my attorneys, made such a promise, suggestion, or prediction,
 except as noted in the previous sentence, I know that they had no authority to do so.

        I know that the sentence I will receive is solely a matter within the control of the Judge. I
 do understand that there is no limitation on the inf01mation the Judge can consider at the time of

                                                   3
           Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 4 of 8




sentencing concerning my background, character, and conduct, provided the information is
reliable. I do understand that if I am subject to sentencing under the Sentencing Ref01m Act and
the Sentencing Guidelines issued by the United States Sentencing Commission, a sentencing
guideline range is established. The Judge will consider a sentence from within the guideline range
and, if my case presents features which persuade the Judge to vary from the guideline range, the
Judge could impose a sentence either above or below the recommended guideline range. In
determining the guideline range, any variance, and the sentence to impose, the Court may take into
account all relevant criminal conduct, which may include counts to which I have not pled guilty
or been convicted and take into account background characteristics, unless otherwise prohibited
by law. I further understand that my background characteristics including, but not limited to, the
recency and frequency of my prior criminal record, whether or not a substantial portion of my
income resulted from criminal conduct, my role in the offense, victim-related circumstances, and
my acceptance of the responsibility for the offense, may have a specific effect on the sentence.

        I hope to receive leniency, but I am prepared to accept any punishment permitted by law
which the Court sees fit to impose. However, I respectfully request the Court to consider, in
mitigation of punishment, that I have voluntarily entered a plea of guilty.

        (17) I understand that a U.S. Probation Officer will be assigned to conduct a thorough
presentence investigation to develop all relevant facts concerning my case unless the Cami finds
that there is in the record sufficient information to enable the meaningful exercise of sentencing
authority pursuant to 18 U.S.C. §3553. The report of the presentence investigation shall contain
the factors set forth in Rule 32. These include the classification of the offense and of the defendant
under the categories established by the Sentencing Commission, the kinds of sentence available to
the Cami, and the sentencing range the officer believes applicable. The report shall include the
history and characteristics of the defendant and such other inf01mation required by the Court
recognizing the factors set f01ih in paragraph (16) above.

       (18) My plea of guilty is the result of my plea agreement entered into between the
Government attorney, my attorneys, and me. All te1ms of the agreement between the Government
and me are set f01ih in the attached plea agreement.

        I fully understand that the Cami is not bound by the terms of the plea agreement, and may
accept or reject said agreement. If the Cami rejects the agreement, I also understand the Cami
will not give me the opportunity to withdraw my plea of guilty, unless the plea agreement, signed
by all paiiies, is executed in accordance with Federal Rules of Criminal Procedure, Rule
1l(c)(l)(A) or Rule 1l(c)(l)( C).

      (19) I believe that my lawyers have done all that anyone could do to counsel and assist
me, AND I AM SATISFIED WITH THE ADVICE AND HELP THEY HAVE GIVEN ME.

        (20) I know that the Cami will not permit anyone to plead "GUILTY" who maintains
he/she is innocent and, with that in mind, and because I am "GUILTY" and do not believe I am

                                                  4
           Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 5 of 8




innocent, I wish to plead "GUILTY" and respectfully request the Court to accept my plea of
"GUILTY" and to have the Clerk enter my plea of "GUILTY" as follows.

                GUILTY AS CHARGED IN COUNTS 1 AND 2 OF THE INDICTMENT.

        (21) My mind is clear, I am not under the influence of alcohol. I cmTently am not under a
doctor's care. The only drugs, medicines or pills that I took within the past seven (7) days are:

                None.

       (22) I have never been confined in an institution for the treatment of mental illness. I have
never been adjudicated mentally incompetent. No psychiatrist, physician, or psychologist has ever
found me to be mentally ill. I know of no reason why my mental competence at the time of the
commission of the alleged offense, or at the present time, should be questioned. (If there are any
exceptions to the above statement, explain below.)

               NIA

         (23) I offer my plea of "GUILTY" freely and voluntarily, and further state that my plea of
guilty is not the result of any force or threats against me, or of any promises made to me other than
those noted in this petition. I fu1iher offer my plea of "GUILTY" with full understanding of all
the matters set fo1ih in the Indictment and in this petition, and in the certificate of my attorney
which is attached to this petition.

       (24) I waive the reading of the Indictment in open court, and I request the Comi to enter
my plea of "GUILTY" as set forth in paragraph (20) of this petition.

         (25) I swear that I have read, understood, and discussed with my attorney, each and every
part of this Petition to Plead Guilty, and that the answers which appear in every paii of this petition
are true and conect.

       Signed and Sworn to by me in open court, in the presence of my attorneys, this 10th day of
February, 2020.

                                                               ~
                                               J~          WILLIAM SMITH



       Subscribed and Sworn to before me this 10th day of February, 2020.




                                                    5
             Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 6 of 8




                                 CERTIFICATE OF COUNSEL


         The undersigned, as lawyer and counselor for the defendant, Janett William Smith, hereby
certifies:

       (1)     I have read and fully explained to the defendant the allegations contained in the
Indictment in this case.

        (2)   To the best of my knowledge and belief, the statements, representations and
declarations made by the defendant in the foregoing petition are in all respects accurate and true.

       (3)      I explained the maximum penalty for each count to the defendant.

       (4)    The plea of "GUILTY" offered by the defendant in paragraph (20) accords with my
understanding of the facts he related to me and is consistent with my advice to the defendant.

       (5)     In my opinion, the defendant's waiver ofreading of the Indictment in open court as
provided by Rule 10 is voluntarily and understandingly made, and I recommend to the Court that
the waiver be accepted.

        (6)     In my opinion, the plea of "GUILTY" offered by the defendant in paragraph (20)
of the petition is voluntarily and understandingly made. I recommend that the Court accept the
plea of "GUILTY."

       (7)    I have made no predictions or promises to the defendant concerning any sentence
the Court may award, except as noted in the space below:

       I have discussed with my client how the Sentencing Guidelines may apply in his case.

        (8)    I fmiher represent to the Cami that the defendant's plea of "GUILTY" is the result
of a plea agreement. The terms of the agreement are set out in paragraph (18) of the petition, and
I have informed the defendant that the Cami is not bound by the te1ms of the agreement and that
if the Comi rejects the agreement, the Cami will not give him the opp01iunity to withdraw his plea
of "GUILTY," unless the plea agreement, signed by all paiiies, is executed in accordance with
Federal Rules of Criminal Procedure, Rule 1 l(c)(l)(A) or Rule 1 l(c)(l)( C).

       Signed by me in open comi in the presence of the defendant above named and after full
discussion of the contents of this ce1iificate with the defendant, this 10th day of February, 2020.




                                                6
              Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 7 of 8




                                  CERTIFICATE OF COUNSEL

         The undersigned, as lawyer and counselor for the defendant, Jarrett William Smith, hereby
certifies:

       (1)     I have read and fully explained to the defendant the allegations contained in the
Indictment in this case.

        (2)   To the best of my knowledge and belief, the statements, representations and
declarations made by the defendant in the foregoing petition are in all respects accurate and true.

        (3)      I explained the maximum penalty for each count to the defendant.

       (4)    The plea of "GUILTY" offered by the defendant in paragraph (20) accords with my
understanding of the facts he related to me and is consistent with my advice to the defendant.

       (5)     In my opinion, the defendant's waiver ofreading of the Indictment in open court as
provided by Rule 10 is voluntarily and understandingly made, and I recommend to the Court that
the waiver be accepted.

        (6)     In my opinion, the plea of "GUILTY" offered by the defendant in paragraph (20)
of the petition is voluntarily and understandingly made. I recommend that the Comi accept the
plea of "GUILTY."

       (7)    I have made no predictions or promises to the defendant concerning any sentence
the Court may award, except as noted in the space below:

       I have discussed with my client how the Sentencing Guidelines may apply in his case.

        (8)    I futiher represent to the Court that the defendant's plea of "GUILTY" is the result
of a plea agreement. The terms of the agreement are set out in paragraph (18) of the petition, and
I have informed the defendant that the Comi is not bound by the te1ms of the agreement and that
if the Comi rejects the agreement, the Court will not give him the opportunity to withdraw his plea
of "GUILTY," unless the plea agreement, signed by all parties, is executed in accordance with
Federal Rules of Criminal Procedure, Rule 1l(c)(l)(A) or Rule 1l(c)(l)( C).

        Signed by me in open court in the presence of the defendant above named and after full
discussion of the contents of this ce1iificate with the defendant, this 10th day of February, 2020.




                                                7
          Case 5:19-cr-40091-DDC Document 21 Filed 02/10/20 Page 8 of 8




                                            ORDER



       I find that the plea of guilty was made by the defendant freely, voluntarily, and because he

is guilty as charged, and not out of ignorance, fear, inadvertence or coercion, and with full

understanding of its consequences. I further find that the defendant has admitted the essential

elements of the crime charged and is mentally competent.


       IT IS THEREFORE ORDERED that the defendant's plea of "GUILTY" be accepted and

entered as prayed for in the petition and as recommended in the certificaty of his lawyers.


       Done in open court this 10th day of February, 2020.




                                             UNITED STATES DISTRICT JUDGE




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